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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                      MEDFORD DIVSION


ANDRE BILODEAU, ROBERTBESSY, .
AMBER MCNAB, GREG
KILLINGSWORTH, TRAVIS GREINER,
and RONDA BJORK,

                Plaintiffs,                                            Case No. l:21-cv-00766-CL

                    v.                                                        • FINDINGS AND
                                                                           RECCOMENDATION
CITY OF MEDFORD,

                Defendant.



CLARKE, Magistrate Judge

       Plaintiffs Andre Bilodeau, Robert Bessy, Amber McNab, Greg Killingsworth, Travis

Greiner, and Ronda Bjork seek declarative and injunctive relief against Defendant City of

Medford. Before the Court is the City's Motion for Summary Judgment ECF No. 51. The Court.

held an oral argument on November 21, 2023. The Court also considered an amicus brief filed by

League of Oregon Cities in support of the City's Motion. For the reasons below, the Court

                                        ' be GRANTED.
recommends the Motion for Summary Judgment

                                      LEGAL STANDARD

       Summary judgment shall be granted when the record shows that there is no genuine

                         .
dispute as to any material fact, and that the moving. party is entitled to judgment as a matter of
       •




law. Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242,247 (1986). The

moving party has the initial burden of showing that no genuine issue of fact exists. Celotex Corp.


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v. Catrett, 477 U.S. 3f7, 323 (1986); Devereaux v. Abbey, 263 FJd 1070, 1076 (9th Cir. 2001)

(en bane). The court cannot weigh the evidence or determine the truth; it may only determine

whether there is a genuine issue of fact. Playboy Enters., Inc. v. Welles, 279 F.3d 796, 800 (9th

Cir. 2002). An issue of fact is genuine "if the evidence is such that a reasonable jury could return

a verdict for the nonmoving party." Anderson, 477 U.S. at 248.

       When a properly supported motion for summary judgment is made, the burden shifts to

the opposing party to set forth specific facts showing that there is a genuine issue for trial. Id. at

250. Conclusory allegations, unsupported by factual material, are insufficient to defeat a motion

for summary judgment. Taylor v. List, 880 F.2d.1040, 1045 (9th Cir. 1989). Instead, the

opposing party must, by affidavit or as otherwise provided by Rule 56, designate specific facts

which show there is a genuine issue for trial. Devereaux, 263 F.3d at 1076. In assessing whether

a party has met its burden, the court views the evidence in the light most favorable to the non-

moving party. Allen v. City ofLos Angeles, 66 F.3d 1052, 1056 (9th Cir. 1995).

                                   FACTUAL BACKGROUND

       This case is brought against a backdrop of unprecedented growth in Oregon's homeless

·population.On January 10, 2023, Oregon's Governor, Tina Kotek, issued an Executive Or4er

declaring a state of emergency due to homelessness. Exec. Order No, 23-02 (Jan. l0, 2023),
                     '                              -

https://www.oregon.gov/gov/eo/eo-23-02.pdf. Oregon's homeless population has increased by

63% over the past six years, placing Oregon nationally as having the fourth-highest rate of

unsheltered homelessness and the highest rate of unsheltered homelessness for families with

children. Id; see also Amicus Brief, ECF No. 70.

       Jackson County, where the City of Medford sits, has experienced a 132% increase in its

unsheltered homeless population. Oregon cities, more than ever before, are revising their policies



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 and practices to accommodate the increasing size of their homeless populations, while balancing

 their obligation to provide safe and livable communities. Medford is the largest city in southern
                                                                           '
 Oregon, and home to a significant homeless community. The City has spent years attempting to

 address its housing crisis through a broad range of interventions aimed at structural, financial,

 and policy changes.

         In terms of shelters, the City works collaboratively with local groups to offer a few

 different housing -options. In 2016, the City authorized the construction' of Hope Village, a tiny-

 house transitional housing campground: Mitton Deel., ECF No. 53 at 1 2; see also Ex. 1. Hope

 Village is run by a non-profit called Rogue Retreat on city~owned property leased through an

 effective subsidy for $1 per year. Id. In 2020, the City and Rogue Retreat created another

_ housing option called the Urban Campground, a low-barrier tent camping area. Id. at 13. The

 City allocated $1,000,000 of funds for.the acquisition of a permanent site for the Urban

 Campground after roughly one year of operating. Id.; see also Ex. 2. The receipt of the funds

 included the following program desc;ription:

                The City of Medford shall find and purchase land to set up a
                permanent Urban Campground to house the homeless living in
                places unfit or unintended for human habitation. The permanent
                campground will include adequate spaces to allow social
                distancing, hand washing stations, adequate restrooms and basic
                needs such as electricity and running water.

 Id. at Ex. 2. Thirty hard-shell duplex units were recently ap~roved to be installed at the Urban

 Campground and expand current capacity. Id. at 13. The City also purchasecl two properties for

 use as the "Navigation. Center," a facility intended to offer wraparound services. Id. at 1 4. The

 Center houses the Kelly Shelter as well, another low-barrier shelter operated by Rogue Retreat

 and financially supported by the. City. Id. at 1 5.




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        In addition to year-round shelters, the City has incorporated mechanisms that allow for

flexible modification in the event that increased shelter is needed because of uninhabitable

weather. Medford's Land Development Code has included a Severe Event Shelter provision in

order to provide short-term relief from extreme weather since 2019. Id. at Ex. ·8 (MMC 10.825).

During the summer of 2021, the City repurposed the Medford Senior Center to use as a cooling

shelter. Id. at ,r 8. The following winter, the City partnered with ACCESS to provide a Severe

Weather Shelter in a city-owned building. Id. When that building was repurposed for the .

Navigation Center, the Severe Weather Shelter was moved to another location, supported in part

by $142,975 of City funding awarded on May 4, 2023. Id.; see also Ex. 9 at 2. Presently at issue,

Medford Municipal Code 5.257(4)(b)(iv) allows loosening or lifting restrictions on structure

camping during cold weather. Id. at ,r 14.

        Shelter beds are nonetheless outnumbered by homeless individuals in Medford. The City

relies on a section of its police force, the Livability Team, to monitor and coordinate use of its

limited shelters. The Livability Team is intended to close existing gaps in resources by

monitoring camps, enforcing ordinances, facilitating services, and issuing referrals. Id. at ,r 6; see

•also Kirkpatrick Deel., ECF No. 54. The Team publishes reports that reflect, among other things,

the spaces available across shelters. Mitton Deel., ECF No. 53 at. ,r 6; see also Exs. 4-7.

Although susceptible to constant fluct_uatii:ms, these reports appear to regularly reflect

availabilities at shelters and success through the referral program. Id.

        In terms of direct financial support, the City has provided funding_ to a variety of

organizations focused on alleviating involuntary homelessness: The City estimates it spent $19.5

million to support homeless services over the course of three years. Id. at ,r 16. In addition to

those already named, Resolution 2022-16 provides grant funding to shelters and homeless



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services including Hearts with a Mission's youth emergency shelter, Community Works' Dunn

House Shelter, and Transitional Housing for Homeless Youth and Youth with Children. Id at 1 .

5; Ex. 3. Resolution 2023-53 awarded $413,000 to the Oasis Center to provide emergency shelter

for 30 pregnant women experiencing homelessness and recovering from addiction. Id at 19; Ex.
                                                                             ,.
9. Ordinance 2021-134 approved funding for Project Turnkey, an on-going plan to convert a

motel into shelter and transitional housing for fire victims, unhoused community members, and

unhoused patients following their discharge from the hospital. Id a! 1 1O; Ex. 10, 17.

        As to other creative, long-term policy supports, the City added two seats to its

Community Services and Development Commission that are explicitly reserved for members

who have experienced or are currently experiencing; homelessness. Id at 1 11; Ex. 11. The City
                                                            I




also established the Affordable Housing Construction Excise Tax which taxes market-rate

development to subsidize affordable housing development through the Housing Opportunity

Fund. Id at 1 17; MMC 9.280. The City testi~~d in support of House Bill 2916 as well, which·

lifted the State of Oregon's restriction on how many parcels could be designated as transitional

housing campgrounds within a municipality. Id at Ex. 12.

        House Bill 3115 was also passed with the City's support. Id at Ex. 13. Oregon's

legislature enacted House Bill 3115 in 2021 intending to capture and codify the key principles of

Martin V. City of Boise, 920 F.3d 584 (9th Cir. 2019) and Blake V. City ofGrants Pass, No. 1:18-

CV-01823-CL, 2020 WL 4209227 (D'. Or. July 22, 2020). 1 See H.B. 3115, 81st Leg. As~emb.,

Reg. Sess. (Or. 2021). The Bill directed Oregon cities to update any laws regulating the acts of

sitting, lying, sleeping, or keeping warm and dry on public property to be objectively reasonable

as to time, place, and manner, with regards to persons experiencing homelessness. Id The City


1
 Blake became Johnson v. City of Grants Pass, 72 F.4th 868 (9th Cir. 2023) on appeal. Unless citing to the Ninth
Circuit opinion specifically, Johnson will be referred to as "Blake" for consistency.                 •

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of Medford joined other Oregon cities in revising their public camping_and sleeping restrictions,

consistent with this directive. In place of total sleeping bans, Oregon cities have altered their

laws to allow reasonable times, places, and manners in which homeless residents may humanly

rest and sleep in ·public outdoor settings. Some cities have limited the manner of camping
                                                           '
permitted (i.e., prohibiti11:g unleashed animals, open fires, alteration of soil, or specific types of

waste disposal), while others have limited locations (such as not allowing camping near schools,

highways, construction sites, and wildlife habitats). See Amicus B_rief, ECF No. 70.

        The City claims its camping ordinance, Medford Municipal Code 5.257 Prohibited

Camping, Lying, and Sleeping, was implemented in direct response to the case law and House

Bill 3115. Def. MSJ, ECF No. 51 at 6. In order to comply with the mandates of Martin and strike

the balance identified as necessary in Blake, the City sought feedback from the public on a draft

of the ordinance that permitted sleeping in specific areas, which underwent ro~ds of edits

driven by the contributions of the stakeholders and the public, as well as local groups-the

Housing Advisory Commission, the Community Services and Development Commission, the

Homeless Task Force, and local acti:vists. See Mitton Deel. ECF No. 53, Ex. 21. The final

version was adopted in April 2021 in the form provided below in the Appendix. According to the

City, the Camping Ordinance is distinguishable for its level of community input and its .

"resources first, enforcement last" sty le of approach. Def. MSJ, ECF No. 51 at 17. Once the
                                                                               -
Livability Team posts a 72-hour unlawful establishment note, service providers are. brought in to

engage individuals around the area. Kirkpatrick Deel. ECF No. 54.- Reports reflect moderate

success, showing an increase in referrals to shelters. Mitton Deel., ECF No. 53, Ex. 25.

Nonetheless, such notices still frequently result in the police discarding the belongings of the




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space's previous inhabitants. Antley Deel., ECF No. 55.; see generally Pls. Resp., ECF No. 67,

Ex. 7, 8 (Plaintiffs' declarations).   .

        Plaintiffs in this case are six homeless or unhoused residents of Medford who have been

feeling the practical effects of the City's ordinances for some time. First Am. Comp., ECF No.

40 at ~ 10 ("F AC").

        Travis Greiner has been involuntarily homeless for at least five years. Pls. Resp., ECF

No. 67, Ex. 7 at~~ 1-2_. He claims he has been cited, arrested, and jailed for prohibited camping

                                                                               .
multiple times in the last year, and that on those occasions his possessions were disrupted and

lost. Id at~~ 8, 11, 14. Mr. Greiner evinces a general distrust for officers and emphasizes the

impracticability of packing up and transporting his home every few days. Id at ~~ 5-6. He claims

he is not eligible for any Rogue Retreat beds and refuses to comply with shelters that enforce

curfews and possible searches. Id at~~ 3-4.

        Ronda Bjork has been involuntarily homeless for at least five years as well and is

present~y a new mother. Pls. Resp., ECF No. 67, Ex. 8 at~ 2, 5. She has been cited and arrested

for prohibited camping but does not feel co~fortable approaching officers to receive services for

fear of being searched, subjected to curfews, or possibly opening the door to future charges. Id

at~ 16. Ms. Bjork explains that living outside subjects her and her child to the elements, possible

exposure, and likely theft, but nonetheless, she does not feel that shelters are a viable option for

her. Id at~~ 6-7.

        The Court has not received any supporting affidavits or declarations of the remaining

four Plaintiffs: However, the FAC provides some illustration of their lives. Robert Bessy has

been involuntarily homeless for two years after losing his job and hQusing. FAC, ECF No. 40 at

~ 24. He echoes Ms. Bjork and Mr. Greiner's protests about being frequently uprooted. For Mr.




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Bessy, the fear of leaving his home unattended, coupled with complications from citations, have

precluded him from ~aintaining employment. Id. at 1125-27. Greg Killingsworth has been

homeless for nine years and claims there is no shelter available to him. Id. at 129. He has been

subjected to multiple sweeps in which he lost many of his basic necessities and all remaining

mementos with familial or historic value. Id. at 1 30. Amber McNab has been homeless for ten

years and claims there are no shelters available to her. Id. at 132. She has been displaced,

harassed, and cited many times throughout her time unhoused. Id. at 1133-35. Andre Bilodeau

has been homeless intermittently for three years. Like the others, he recounts being· forcibly

moved, having his belongings destroyed, and facing an inability to avoid trespass and seek

shelters. Id. at 1143-49.

       Plaintiffs allege that despite Medford's efforts, the City maintains a web of ordinances,

customs, polices, and practices that unconstitutionally criminalize the·existence of homeless

people in Medford by punishing involuntary human acts.

                               PROCEDURAL BACKGROUND

       Plaintiffs filed this lawsuit on May 18, 2021, seeking declaratory and injunctive relief
                               '
from the enforcement of Medford Municipal Codes 5.256 Civil Exclusion ("Exclusion

Ordinance") and 5.257 Prohibited Camping, Lying, and Sleeping ("Camping Ordinance"), as

well as other theft of services laws and criminal trespass laws.- FAC, ECF No. 40. The full

Exclusion Ordinance is also provided in the Appendix.

       Plaintiffs previously moved to certify a class of all involuntary homeless people in

Medford. Pls. Mot., ECF No. 21. The Court denied class certification, finding that Plaintiffs had

not submitted material sufficient for the Court to form a reasonable judgment. See F. & R., ECf

No. 44 at 6, 9, 13, 14, 19 (adopted and denying certification in ECF No. 49). There were no



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supporting documents filed with.the motion to certify until Plaintiffs' 237-page reply was

submitted, which included four declarations and ten exhibits that were rarely cited to or

explained for their usefulness. See Pls. Reply, ECF No. 28.
                                                               I   \

       Now before the Court is the City's Motion for Summary Judgment and it suffers from the

same lack of support. Plaintiffs' 851-page Response includes nine.exhibits: (1) a transcript ofa

Jackson County Municipal Court proceeding, (2) House Bill 2367, (3) a letter written in support

of House Bill 2367, (4) the City's biennial budget, (5) ABA Standards for Criminal Justice

Providing Defense Services, affidavits from (6) Plaintiffs' counsel, (7) Mr. Greiner, and (8) Ms.

Bjork, and (9) a dismissal order from a Jackson County Municipal Court. Pls. Resp., ECF No.

67. Without page numbers, the scant citations found. in the Response Brief are inappropriately

cumbersome and generally fail to explain how each exhibit support~ Plaintiffs' constitutional

claims directly. For example, Exhibits 5 and 6 are relied upon solely to show the workload and

pay of a.public defender. See Pls. Resp., ECF No. 67 at 4, 19. Exhibit 4 is a'554-page budget

report that Plaintiffs cite, without page numbers, ostensibly to show how much the City spent on

law e~orcement. Id_: at 13. Exhibit 1. is a 114-page transcript that Plaintiffs cite, again without

page numbers, to puzzlingly challenge the City's exclusion zone hearings. Id at 17.

                                               ISSUE

       The City moves for summary judgment in its favor on all claims brought by Plaintiffs: a

cruel and unusual punishment claim under the Eighth Amendment, an equal protection claim

under the Fourteenth Amendment, a substantive due process claim under the Fourteenth

Amendment, and a procedural due process claiin under the Fourteenth Amendment. The City

argues that Plaintiffs lack standing to bring injunctive rel!efclaims because they cannot establish




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unavoidable exposure to citation under the ordinances. In the alternative, the City argues that

Plaintiffs' claims each fail for individual deficits. The Court agrees.

                                                  DISCUSSION

         The Court recommends summary judgment be granted on any residual claims as a

preliminary matter. The FAC cites only to the Exclusion Ordinance and the Camping Ordinance,
                                          /   '
yet "theft qf services laws and· criminal trespass laws" are also intermittently referenced. See

FAC, ECFNo. 40 at ,r 1 l5. Plaintiffs have not clarified to which laws they refer and have not

otherwise revisited them by way of citation, exhibit, or reference in argument. 2 To the extent

claims against the "theft of services laws and criminal trespass laws" still exist, the Court

recommends summary judgment be granted as to those claims for lack of support.

         As.to the Exclusion Ordinance ahd the Camping Ordinance, the Court recommends

summary judgment be granted in the City's favor for the following reasons.

    I.      Standing

         Before proceeding to the merits, federal courts must determine that they have jurisdiction. •

Lance v. Coffman, 549 U.S. 437,439 (2007). Jurisdiction exists only where standing has been

establ_ished. Id. To have standing, a plaintiff must show an injury that is "concrete, particularized,

and actual or imminent; fairly traceable to the challenged action; and redressable by a favorable

ruling." Clapper v. Amnesty Int'! USA, 568 U.S. 398,409 (2013) (quoting Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 149 (2010)).

         Imminence is "a somewhat elastic concept" but should not be stretched to include injuries

that are overly speculative or uncertain. Martin, 920 F._3d at 609 (quoting Clapper, 568 U.S. at

409). A plaintiff, however, need not await an arrest or prosecution to establish standing. Id.


2
 This ambiguity was previously highlighted for the parties in this Court's Findings and Recommendation, and
Plaintiffs have not clarified their claims in the interim. See F. & R.; ECF No. 44 at FN 1.   •

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"When the plaintiff has alleged an intention to engage in a course of conduct arguably affected

with a constitutional interest, but proscribed by a statute, and there exists a credible threat of

prosecution thereunder, he should not be required to await and undergo a criminal prosecution as

the sole means of seeking relief." Id. (qµoting Babbitt v. United Farm Workers Nat'! Union, 442

U.S. 289, 298 (1979)). A motion for summary judgment premised on a lack of standing may be

defeated by showing some genuine dispute of material fact as to the elements of standing; a
                       ~                                                                  '
plaintiff need not establish they in fact have standing. Cent. Delta Water Agency v. United States,

306 F.3d 938, 947 (9th Cir. 2002).

           The City argues Plaintiffs lack standing because they cannot establish unavoidable

exposure to citation under the ·Camping Ordinance: because the Ordinance does not prohibit all

forms of sleeping on any public property, Plaintiffs cannot show their injury is imminent. •

Plaintiffs respond by reasoning that their chronic history of being homeless is a sufficient basis

to conclude that Plaintiffs will continue to be homeless and continue to face a threat of

prosecution under the Ordinance: In this case, the question of standing largely comes down to an

evidentiary issue. The current summary judgment record contains affidavits from only two of the

Plaintiffs, Mr. Greiner and Ms. Bjork. There has been no evidence submitted on behalf of Mr.

Bilodeau, Mr. Bessy, Ms. McNab,.or Mr. Killingsworth beyond the bare allegations provided in
                                                               '                                     '




the FAC and repeated in the motion to certify. Without declarations, affidavits, or any other

actual evidence, the remaining Plaintiffs' allegations lack the requisite support that is demanded

·by a motion for summary judgment. The Court is accordingly unable to conclude that a genuine
       .                        '              '

dispute exists as to the standing of these four Plaintiffs.

           Mr. Greiner and Ms. Bjork make a slightly stronger showing. See ECF No. 67, Exs. 8, 9.

In their affidavits, each alleges· a general intenti?n to continue camping in tents, with a reluctance



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                      ~




to move their belongings. They also claim that they are not elig1ble for beds offered by the

Rogue Retreat and otherwise refuse to avail themselves of shelters in the area. Taking those

allegations as true, it is reasonably probable in the future that Mr. Greiner and Ms. Bjork will

continue to live outside in tents, implicating the prohibitions of the Camping Ordinance and

thereby, posing a credible risk of prosecution.

         The Court therefore finds that only Mr. Greiner and Ms. Bjork have demonstrated a

dispute of fact as to their standing to challenge the Ordinances. Summary judgment should be

granted in the City's favor as to the remaining Plaintiffs finding that they have failed to set forth

specific facts, beyond conclusory allegations, to show there is a dispute for trial.

         Having found at least some dispute of fact as to standing, the Court moves to the

substance of Plaintiffs' claims and recommends granting summary judgment in the City's favor

with respect to each claim.

   II.      Eighth Amendment

         Th~ Eighth Amendment exists to limit the government's power to punish. Austin v.

Unite~ States, 509 U.S. 602, 609 (1993). Where cities wield their power in a way that punishes

involuntary human acts, courts in the Ninth Circuit have invoked the Eighth Amendment to find _)

such practices, policies, and ordinances unconstitutional.

         In Martin, the plaintiffs faced ordinances that criminalized camping in any public space

at any time, whether bare or with basic bedding. Martin, 920 F.3d at 617-18. The ordinances

were enforced without regard for the lack of space available at shelters, of which there were only

three, each privately-run and religiously affiliated. Id. at 604-5. The Ninth Circuit struck down·

the ordinances, holding that the Eight Amendment's prohibition on cruel and unusual




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punishment bars a city from criminally prosecuting people for involuntarily sitting, lying, and

sleeping in public when no alternat~ve shelter is available to them. Martin,. 920 F .3d at 617.
                                     '         .

       In Blake, the plaintiffs faced an ordinance that prohibited any camping, defined to include

simply sleeping with bedding, in any public spaces at all times. Blake, 2020 WL 4209227 at *6.

Camping in cars and sleeping on sidewalks were also prohibited. Id Despite not having any .

shelters that met the United States Department of Housing and Urban Development criteria, the

city officials pursued measures to aggressively cure its "vagrancy problems." Id at *3. Applying •
                                                                          \                 •     >



                                                                              '
Martin, this Court held that in light of the city; s lack of adequate shelter, its practice of punishing

the act of sleeping outside with a blanket to stay warm constitutes cruel and unusual punishment

in violation of the Eighth Amendment. Id at *8. The Ninth Circuit partially affirmed this Court's

narrow decision, reaching slightly beyond Martin to hold "that 'sleeping' in the context of

Martin includes sleeping with rudimentary forms of protection from the elements, and that

Martin applies to civil citations where, as here, the civil and criminal punishments are closely

intertwined." Johnson v. City ofGrants Pass, 72 F.4th 868, 896 '(9th Cir. 2023).

       Neither Martin nor Blake dictates to local governments that they must provide

commensurate shelter or strike down all restrictions:

               The City may implement time and place restrictions for when
               homeless individuals may use their belongings to keep warm and
               dry and when they must have their belongings packed up. The City
               may also implement an anti-camping ordinance that is more
               specific than the one in place now. For example, the City may ban
               the use of tents in public parks without going so far as to ban
               people from using any bedding type materials to keep warm and
               dry while they sleep; The City may also consider limiting the
               amount of bedding type materials allowed per individual in public
               places. Moreover, this holding does not limit Grants Pass' ability to
               enforce laws that actually further public health and safety, such as
               laws restricting littering, public urination or defecation, obstruction
               of roadway~, possession or distribution of illicit substances,
               harassment, or violence.


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Blake, 2020 WL 4209227 at* 15. Blake rests on the notion that cities have a dual obligation: they

are charged with protecting the safety and welfare of their citizens, as well as respecting the

dignity of their homeless residents. See id. at *I. This balancing act permits cities to reasonably

restrict the freedoms of homeless individuals in_public settings, provided those restrictions serve

the interests of safety and the general welfare. If, however, such restrictions coalesce to prevent

any practical opportunities for resting or sleeping, or are otherwise passed pretextually with the

concealed intention of disappearing homeless residents, such restrictions cannot be deemed

reasonable. 3

        Plaintiffs here claim that the City's enforcement of the Camping Ordinance

unconstitutionally punishes involuntary human acts: "By punishing the acts of resting, sleeping

or seeking shelter in public, without providing any legal place for most homeless place [sic] to

conduct such activities, Medford effectively punishes the status of homelessness." FAC; ECF

No. 40 at ,r 84.

         Plaintiffs' argument fails to acknowledge the dispositively different facts presented by

the circumstances of Medford, as contrasted by those in Blake and Martin. First, Plaintiffs here

do not face a city-wide ban on sleeping or camping. Unlike the ordinances involved in Martin

and Blake, the Camping Ordinance does not unconditionally punish the acts of resting, sleeping,

or seeking shelter. Sleeping or lying (defined to allow the use of sleeping bags;bedrolls, and

other bedding materials to keep warm and dry) is permitted generally in parks, even after



3
  An ordinance allowing rest in public areas only during daytime hours is not a reasonable time, place, and manner
restriction nor compliant with Martin: "The Court will not countenance that city may constitutionally criminalize
sleeping outside during the evenings so long as it provides some public space that is available during daytime hours.
Martin cannot and does not stand for such a proportion." Wills v. City of Monterey, 617 F. Supp 3d 1107, 1120-21
(N.D. Ca. 2022); see also Langley v. City of San Luis Obispo, No. CV2107479CJCADSX, 2022 WL 18585987, *4
(C.D. Cal. Feb. 7, 2022) (rejecting similar daytime restrictions).


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      closure, and on sidewalks, provided 36-inch~s remains clear for passage. See MMC 5.257(5).

      There are some prohibited zones in specific greenways and· parks during fire season, but the City     I




      properly balanced those restrictions in consideration of the unique fire d~nger presented by          I
                                                        .                         .

      having excess materials in a region that has annually been devastat~d by wildfire. See MMC

      5.257(2). Camping is subject to different restrictions. Camping (defined as structure camping or

      using a fire) js generally prohibited on publicly owned property. See MMC 5.257(4). Exceptions

      can arise for approved tent or car Gamping through a variety of means, such as the Urban

      Campground, through the authorization of nonprofits, and during extreme weather events. Id.

      •Notably though, camping does not include merely sleeping with bedding. Thus, not only is t_here

      no city-wide ban on camping and sleeping, but there is also no prohibition of the use of blankets

      or bedding materials to stay warm and dry in approved areas. The circumstances at play in the

      City of Medford are determinatively different from past cases in that they preserve times, places,

      and manners in which homeless residents may humanely rest.

              Plaintiffs highlight for the Court that there are many times throughout the year when

      merely a blanket is insufficient to keep one warm and dry. Rather, Plaintiffs contend, tents are a
                                   -,                                                -

      necessary piece of equipment for sleeping outdoors because they provide greater coverage from

      the elements and protection from insects and wildlife. Plaintiffs make an indisputable point; tents

      provide more security and more· shelter than blankets and bedding. Thefr argument is better

      presented to local governments and poHcy makers. The Court's duty is only to assess the City's

      ordinances to determine if they pass constitutional muster. And under the current precedent,

      there is no constitutional right to a tent. Being that the City allows its unhoused residents to

      reasonably sleep with bedding to keep warm and dry in designated public areas around Medford,
\._

      the Court finds the Camping Ordinance reasonable.



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         Plaintiffs' situation differs from precedent in another critical way: shelters. Unlike Martin

and Blake, there is a range of publicly funded, low-barrier shelters in Medford, some of which

offer collaborative public services. There are options for tent camping at the Urban Campground,

tiny houses at Hope Village, low-barrier shelters with wraparound·services at the Navigation

Center, and additional, albeit more restrictive shelters that are privately run around the area.

Hard-shell duplexes, a stable site for-the Urban Campground, future affordable housing, and

building restoration projects have also been planned, approved, and funded. 4

         The Constitution does not demand that a city provide a bed for each homeless resident.

 Consequently, the presence of shelters is not dispositive to the issue. Courts do, however, assess

the landscape of shelters available in a city as a condition precedent to sleeping bans and as a

factor where the evidence demonstrates egregious or discriminatory enforcement of policies .

. Where 1 city has participated in making multiple shelters available, it reflects a commitment to

assisting their unhoused neighbors, and it lends itself to the reasonability of whatever restrictions

are in place. Here, the number of resolutions recently adopted by the City shows a commitment
                                             '
to the issue by not only the City, but members of the community who have offered their-input.

The Court finds little utility in rebuking those efforts, particularly where many of the seeds have

been recently planted and require time and dedication before their adequacy can be measured.




4
  Plaintiffs. argue that shelters run by the Rogue Retreat should not be considered in the City's favor. They allege that
the Rogue Retreat unconstitutionally imposes curfews and subjects residents to unreasonable searches and seizures:
"[I]t is also cruel and unusual to force people into a choice between waiving their right to be free from searches by
law enforcement and its agents absent probable cause or being arrested for sleeping outside. It is also cruel and
unusual to force citizens to submit to a law enforcement curfew in order to not be arrested for sleeping outside." Pls.
Resp., ECF No 67 at 6. In makip.g this claim, Plaintiffs assert that strict scrutiny should apply to the alleged curfew
and search policies because courts have applied a heightened standard to curfews and searches in the past. Piaintiffs,
however, cite only to distinguishable cases that have nothing to do with homeless shelters run by third parties.
Plaintiffs have also failed to offer proof that any such policy is enforced by Rogue Retreat. Without a fully formed
and supported argument, the Court can neither understand nor make a recommendation on this claim.

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              For the forgoing reasons, the Court finds the City's Ordinance to be constitutional. The

    City is entitled to judgment as a matter of law on Plaintiffs' Eighth Amendment claim.

       III.      Equal Protection

              The Equal Protection Clause guarantees that "all persons _similarly circumstanced shall be

    treated alike." Plyler .v. Doe, 457 U.S. 202,216 (1982). There are a few methods by which a

    plaintiff may allege an equal protection violation.

              A plaintiff may allege the defendant acted.with an intent or purpose to discriminate

    against the plaintiff based upon membership in a protected class. However, "[w]here the

    governmental classification does not involve a suspect or protected class or impinge upon,a

    fundamental right, the classification will not 'run afoul of the Equal Protection Clause if there is

    a rational relationship betweeni disparity of treatment and some legitimate governmental

    purpose."' E.g., Nails v. Haid, No. SACV 12-0439 GW SS, 2013 WL 5230689, at *3 (C.D. Cal.

    Sept. 17, 2013) (quoting Nurre v. Whitehead, 586 F.3d 1067, 1098 (9th Cir.2009)). Thus, absent

    a suspect class, protected class, or fundamental right, rational basis review applies.

              A plaintiff may also allege selective enforcement of the ordinance,at issue. To show

    selective enforcement, a plaintiff "must demonstrate that enforcement had a "discriminatory effect

    and the police were motivated by a discriminatory purpose." Rosenbaum v. City and County of

    San Francisco, 484 F.3d 1142, 1152 (9th Cir. 2007). Further, plaintiffs seeking to enjoin

    enforcement must demonstrate that the selective enforcement "is part of a 'policy, plan, or a

    pervasive pattern."' Id at 1153 (quoting Thomas v. County of Los Angeles, 978 F.2d 504,509
l
    (9th Cir. 1993)).




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        Plaintiffs' briefmg does not make their approach clear. 5 Therefore, the Court will address                         \



both potential types of violation. First, under current precedent, homeless individuals are not a

suspect class. Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1108 (E.D. Cal. 2012) (citing

cases). Plaintiffs' recitation of New Colossus by Emma Lazrus does not change that fact. While

arguments that the unhoused represent a vulnerable group deserving of protection are well taken,

the Court is bound by precedent and Plaintiffs have not brought a case that could adequately

support homelessness as a protected or suspect class requiring strict scrutiny.

        Applying rational basis review, the Court finds that the restrictions imposed by the

Camping Ordinance are rationally related to the City's legitimate purposes. The City points out

that it "is managing the homeless population's needs to rest, sleep, and lie against the housed

population's interest in aesthetics, sanitation, public health, safety, and environmental quality."

Def. Mot., ECF No. 51 at 37. Plaintiffs argue there is no rational basis for denying them the right

to erect a cover from the elements and dispute that tents present a fire danger, claiming that"[ o]f

the 200 fires currently burning in Northern California and Southern Oregon, none were caused

by nylon or protective coverings for people from the elements." Pls. Resp., ECF No. 67 at 30.

Plaintiffs have not provided the Court with any support for their argument. Moreover, the Court

agrees with the City's characterization of their duty. The City is required to consider the input of

parents who want to play with their kids at parks, neighboring cities that share concerns for the

greenway, environmental groups who ha':'e complained about debris build up, businesses and

property owners who are concerned with their livelihood and property values, and taxpayers




5 In the F AC, Plaintiffs allege selective enforcement, invoke fundamental rights, and raise that "homelessness is an   .
arbitrary classification." FAC, ECF No. 40 at 1193-95. In the Response, Plaintiffs allege targeted enforcemi;nt by
Officer Kirkp<'!trick and include a plea to the courts for homeless individuals to be deemed a protected class. Pis.
Resp., ECF No. 67 at 30-31.

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frustrated with cleanup costs that yield no lon·g-term solutions. See Mitton Deel., ECF No. 51,.

Ex. 30. These are legitimate concerns that form a rational basis for the Ordinance.

       Likewise, the Court finds the City has demonstrated a rational basis for its Exclusion

Ordinance. The Exclusion Ordinance allows the City to exclude individuals from a specific

public area for unwanted behaviors. Such behaviors include arson, assault, harassment, sexual

offenses, drinking in public, possession of a controlled substance, and other actions typically

prohibited in common spaces-but they do not include P,rohibited camping and trespass. Thus,

Plaintiffs merely engaging
                     .
                           in the life-sustaining activities of sleeping, resting,
                                                                               .
                                                                                   or seeking shelter

are not implicated by this Ordinance. In ruling on its constitutionality, the Honorable Benjamin

Bloom of the Jackson County Circuit Court noted that the exceptions built into the Ordinance's

language serve as safeguards to protect one's fundamental rights:· •

                The court determines that the Exclusion Ordinance survives
                constitutional challenge because although the Ordinance excludes
                individuals cited or arrested for an enumerated crime or violation
                from being in the downtown Medford exclusion zone for 90 days,
                the ordinance contains safeguards which render it constitutionally
                permissible. For instance a person subject to the Exclusion
              . Ordinance may enter the exclusion zone to work or look for work,
                travel through the exclusion area, obtain health services, attend
                religious services, consult with an attorney or other legal
                professional, attend court hearings, go anywhere authorized or
                ordered by the court, attend public meetings, or otherwise exercise
                a constitutional right. The ordinance does not infringe upon the·
                right to free speech, right to travel, or the right of assembly.
                Additionally, application of the Exclusion Ordinance is stayed if a
                person challenges an exclusion order. Finally, the Exclusion
                Ordinance contains provisions for a person to seek variances to the
                conditions of an exclusion Order. •

Murdock Deel., ECF No. 52, Ex. 27. This Court agrees· with Judge Bloom's reasoning; Plaintiffs

raise a host of issues with the Exclusion Ordinance's associated hearing process but again,

Plaintiffs do not provide the Court with any authority and lack sufficient evidentiary support for



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their arguments. Without a fully supported challenge, the Court is inclined to echo the County

and find the Exclusion Ordinance acceptable.

         Second, .to the extent Plaintiffs bring a selective enforcement challenge, they have not

provided the Court with any evidenc~ that the police were motivated by a discriminatory

purpose, much less that the selective enforcement was part of a policy, plan, or pervasive pattern.

The Court cannot find a genuine dispute of material fact exists without such evidence.

         The Court recommends summary judgment be granted in the City's favor on Plaintiffs'

equal protection claim.

   IV.      Substantive Due Process

         The substantive due process clause of the Fourteenth Amendment forbids the government

from depriving a person oflife, liberty, or property when the government acts with deliberate

indifference or reckless disregard for that person's fundamental rights,, Tennison v. Cit:y & County

ofS.F, 570 F.3d 1078, 1089 (9th Cir. 2009); Porter v. Osborn, 546 F.3d 1131, 1137-39 (9th Cir.

2008). A plaintiff establishes a substantive due process violation by showing the defendant

deprived him of his life,Hberty, or property and engaged in "conscience shocking behavior."

Brittain v. Hansen, 451 F.3d 982, 991 (9th Cir. 2006). An official's conduct may shock the

conscience where the official acts with deliberate indifference or reckless disregard for the

plaintiffs rights in situations where the official had the opportunity to deliberate. Tennison, 570

F.3d at 1089; Porter, 546 F.3d at 1137-39.

         Plaintiffs couch this claim in terms of a dispute over "whether cover from the elements,

insects, and animals is a 'certain life necessity."' Pls. Resp., ECF No. 67 at 32. Rather than

providing the Court with any authority for this proposition, Plaintiffs attempt to carry their

summary judgment burden by arguing that "[t]he Court has not said and it is not established law



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that covering from the elements and protection from predators is not a life necessity." Id. at 32

(emphasis added). Not only do Plaintiffs confusingly upend their legal burden at summary·
                                                         '
judgment, but they continue to misstate the Camping Ordinance. A "sleeping bag, bedroll, or

other material used for bedding purposes, including materials used to keep warm and dry while

sleeping" are allowed anywhere sleeping is allowed. MMC 5.257(1)(c). Under the Camping

Ordinance, Plaintiffs are not deprived of cover from the elements. Plaintiffs also fail to

demonstrate any "conscience shocking behavior" on the part of the City. Nothing has been

presented to the Court as proof tl,lat the City acted with deliberate. indifference or reckless

disregard for Plaintiffs' rights, such that a genuine dispute of material fact could exist.

          Because the record cannot support this claim, the Court recommends summary judgment

be granted in the City's favor on Plaintiffs' substantive due process claim:

     V.      Procedural Due Process

          Plaintiffs argue the City's Camping Ordinance fails to provide "sufficient notice such that

a reasonable homeless person in Medford would understand what conduct is prohibited." FAC,

ECF No. 40 at 31. The City moves for summary judgment on this claim, arguing, among other

things, that it's difficult to simplify ordinances like this, that were drafted in response to complex

case law and are subject to constitutional challenges. Def. Mot., ECF No. at 40. In response,

Plaintiffs said only this: "For the reasons stated above regarding the ·essential nature of cover

from the elements, Plaintiffs Procedural Due Process claim should also survive summary

judgment." Pls. Resp., ECF No. 67 at 33.

          Based on Plaintiffs' response, the Court recommends summary judgment he granted on

this claim as well. Plaintiffs have not met
                                         .
                                            their summary judgment
                                                           .
                                                                   burden: no evidence has been

offered, no case law or statutes are relied upon, and no substantive argument is presented from



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    which the Court could find a genuine issue exists. Moreover, the Court agrees with the City.
                               •                                                 I

    Complex problems often beget complex answers. It would not behoove local governments and
\
!   policy makers to produce solutions only where they can be offered in simplistic terms.

    Nonetheless, this Court finds that, read plainly, the Camping Ordinance is clear. It will be the

    City's duty, like many others, to work with community members and advocates to distill the law

    into digestible messages that the gen~ral public will be able to access and understand practically.

                                             CONCLUSION

            The Court is mindful of staying in its narrow lane of evaluating whether the recent City

    of Medford Ordinances, enacted in response to the homeless crisis, are constitutional. The Court.

    has found they are. The Court does however encourage city leaders to not become complacent

    and continue to compassionately and collaboratively work with all public and private

    •stakeholders to address the root causes of homelessness in our community. This includes; among

    other things, the dire need for more low-cost and subsidized housing as well as mo;e addiction,

    mental health, and other specialized services. The City appears to be acting in good faith and

    with the recognition that we cannot criminalize our way out of the homeless crisis. There are no

    easy fixes and the City will require help from, the local, state, and federal governments. This

    crisis plagues each member of our community. Although it may be felt in different ways, it

    commands the same level ofresponsibility from each of us.

                                         RECOMMENDATION

            The Court recommends the City's Motion for Summary Judgment be granted. Plaintiffs

    have failed to meet th~ir burden of demonstrating a genuine issue of material fact exists with

    respect to any of their claims.




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        This recommendation is not an order that is immediately appealable to the Ninth Circuit

Court of Appeals. Any notice of appeal pursuant to Federal Rule of Appellate Procedure Rule

4(a)(l) should not be filed until entry of the district court's judgment or appealable order. The

Findings and Recommendation will be referred to a district judge. Objections to this Findings

. and Recommendation, if any, are due fourteen (14) days from today's date. If objections are

filed, any response to the objections is due fourteen (14) days from the date of the objections.

See Fed. R. Civ. P. 72, 6.



        DATED this_lf_ day of        Jc     fll/C:{1, 2024.




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                                         APPENDIX

              5.256 Civil Exclusion

              (1) Civil Exclusion Zones. Civil exclusion zones are designated to
              protect the public from those whose illegal conduct poses a threat
              to the public health, safety, and welfare. In accordance with the
              provisions of this section, the Chief of Police or designee may
              exclude any person who is cited to appear, arrested, or otherwise
              taken into custody for ariy offense listed in subsection (2) of this
              section within a civil exclusion zone. Nothing in this section shall
              be construed to authorize the exclusion of any person lawfully
              exercising free speech rights or other rights protected by the
              Oregon or federal constitution. However, a person engaged in such
              protected activity who commits acts that are not protected shall be
              subject to exclusion as provided by this section. Civil exclusion
              zones include the following places:
              (a) City Property. Any property owned or managed by the City,
              including but not limited to parks, greenways, buildings, parking
              lots, or other land or physical structures. A person shall only be
              excluded from the city property that the person receives a notice of
              exclusion for.
              (b) The Downtown District. Comprises the area bound by Bear
              Creek, the north right-of-way of Sixth Street, the west right-of-way
              of Oakdale Avenue, the north right-of-way of West Main Street,
              the west right-of-way of Laurel Street, the south right-of-way of
              West Eighth Street, the west right-of-way of Oakdale Avenue, and
              the south right-of-way of West Tenth Street (as shown on Map A).
              (2) Offenses; Penalty. A person is subject to civil exclusion for a
              period of 90 days from entering or remaining within a civil
              exclusion zone if that person has been cited to appear, arrested or
              otherwise taken into custody within a civil exclusion zone for any
              of the following offenses:
              (a) alcoholic liquor violations as provided in the Oregori Liquor
              Control Act, or Medford code sections 5.310, 5.350, 5.360, or
              5.361;
              (b) any sexual offense, as provided by ORS 163.355 through
              163.465;
              (c) arson or related offenses as provided in ORS 164.315 through
              164.335 or reckless burning as provided in Section 5.272;
              (d) assault as provided in ORS 163.160, ORS 163.165, ORS
              163.175, ORS 163.185, or Medford code section 5.105;
              (e) criminal mischief as provided in ORS 164.345 through
              164.365 or Medford code section 5.270;
              (f) disorderly conduct as provided in ORS 166.025 or Medford
              code section 5.120;


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              (g) discharge of weapons as provided in Medford code section
              5.160
              (h) failure to control dangerous dog as provided in Medford code
              section 5.603.
           • (i) graffiti offenses as provided in ORS 164.381 through.bRS
              164.386 or Medford code section 5.519;
              G) harassment as provided in ORS 166.065 or Medford code
              section 5.130;
              (k) intimidation as provided in ORS 166.155 through 166.165;
              (1) marijuana-related offenses as provided in th¥ Control an'd
              Regulation of Marijuana Act, the Oregon Medical Marijuana Act,
              or Medford code sections.5.652, 5.653, 5.705, 5.710, or 5.715;
              (m) menacing as provided in ORS 163.190 or Medford code
              section5.110;                                     •
              (n) possession, manufacture, or delivery of a controlled substance
            . or related offenses as provided in ORS 167.203, ORS 475.005
              through 475.285, and ORS 475.752 through 475.980;
              (o) prostitution or related offenses as provided in ORS 167 .007
              through ORS 167.017;
              (p) public urination as provided in Medford code section 5.125,
              except if the conduct involves only urination on a permeable
              surface in a park or greenway;
              (q) recklessly endangering another person as provided in QRS
              163.195 or Medford code section 5.115;
              (r) strangulation as provided in ORS 163.187;
              (s) theft as provided in ORS 164.015 through 164 ..140 or Medford
              code sections 5.291 through 5.298.
              (3) Violation .
           . (a) If a person excluded from a civil exclusion zone is found
              within the boundary of the civil exclusion zone during the
              exclusion period, that person may be arrested for Trespass-
              Premises as provided in Medford code section 5.250. A person is
              not considered to be within a civil exclusion zone if the person is
              within an exclusion zone and the person is:
              (i) passing through the exclusion area;
              (ii) in the act ofobtaining social, medical, or like services;
              (iii) in the act of seeking employment or performing work directly
              related to lawful employment;
              (iv) attending a public meeting;
              (v) attending a court hearing, meeting with an attorney or criminal.
             justice personnel, or engaged in any activity ordered by a court;
              (vi) in the act of filing an appeal to an exclusion notice issued
              under this section;
              (vii) attending religious services or otherwise exercising a
              constitutional right.



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             (b) A person shall not be issued an exclusion notice for prohibited
             camping or for otherwise sleeping within an exclusion zone.
             (4) Exclusion Notice. The Chief of Police is designated as the
             person in charge of civil exclusion zones for the purpose of issuing
             exclusion notices in accordance with this ordinance, and may
             authorize employees of the police department to issue exclusion
             notices. Written notice shall be given to any person excluded from
             a civil exclusion zone. The notice shall specify the area from which
             the person is excluded, the length of exclusion, the offense(s) the
             person is accused of violating, and a description of the offending
             conduct. Warnings of consequences for failure to comply shall be
             prominently displayed on the notice. The notice shall inform the
             excluded person of the right to appeal to the municipal court, and
             shall include information on the time limit to file an appeal and
             place to deliver the appeal. Unless otherwise provided in the
             exclusion notice, the term of exclusion shall take effect upon
             issuance.
             (5) Appeal. A person receiving an exclusion notice shall have the
             right to a hearing to have the exclusion rescinded, the period of
             exclusion reduced, or to request a variance.
             (a) The hearing request must be filed in writing to the Municipal
           . Court Clerk at Medford City Hall within ten (10) days after receipt
             ofthe notice of exclusion. The hearing shall be conducted by the
             municipal court judge within ten ( 10) days of receipt of a request
             filed pursuant to this section; excluding Saturdays, Sundays, and
             holidays.                                         .
             (b) The hearing may be rescheduled for good cause shown, but
             shall be scheduled no later than five (5) additional business days
             from the rescheduled request. If an appeal is timely filed, the
            period of exclusion shall be stayed, pending the outcome of the
             appeal. If the exclusion is affirmed, the remaining period of
             exclusion shall be effective immediately upon issuance of the
             municipal court's decision.                               ,
             (c) The City shall have the burden of proving by a preponderance
             of the evidence the validity of the exclusion. If the municipal court
            finds by a preponderance of the evidence that the exclusion was
            based upon the conduct proscribed by subsection (2), and if the
             exclusion is otherwise in accordance with law, the municipal court
             shall uphold the exclusion. However, if the municipal court finds
            that the City has not met its burden of proof, or that the exclusion
            is otherwise unlawful, then the municipal court shall enter an order
             rescinding the exclusion. In the event that the municipal court finds
            that the City has met its burden of proof, but that the length or
             scope of the exclusion is unreasonable under the circumstances, the
            municipal court may issue an order shortening the length of



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             exclusion or allowing for a variance. The decision of the municipal
             court is final.
             ( 6) Variance.
             (a) The Court may in its discretion grant a variance to an excluded
             person at any time during the period of exclusion i.f the person:
             (i) presents a plausible need to engage in any non-criminal activity .
             that is not associated with the behavior supporting the persop's
             exclusion;
             (ii) establishes that he or she resides within an exclusion zone;
             (iii) presents a plausible need to obtain goods and services not
           • otherwise available outside the exclusion zone to satisfy the
             person's essential needs.
             (b) The variance shall be in writing, for a specific period of time
             and only to accommodate a specific purpose, all of which shall be
             stated on the variance. The excluded person shall keep the variance
             document on his or her person: at all times the person is within the
             exclusion area.

            5.257 Prohibited Camping, Lying, and Sleeping.

            (1) As used in this section:
            (a) "To camp" means to set up or to remain in or at a campsite. •
            (b) "Campsite" means any place where any stove or fire is placed,
            established or maintained for·the purpose
            of maintaining a temporary place to live, or where the use of any
            tent, lean-to, shack, or any other structure,
            or any vehicle or part thereof is placed, established or maintained
            for the purpose of maintaining a temporary
            place to live.
            (c) "Bedding materials" means a sleeping bag, bedroll, or other
            material used for bedding purposes, including materials used to
            keep warm and dry while sleeping.
            (d) "The Greenways" refers to the Bear Creek Greenway, the
            Larson Creek Greenway, the Lazy Creek
            Greenway, and the Navigator's Landing Greenway.
            (e) "Vehicle camping in a lawful parking space" refers to a person •
            experiencing homelessness utilizing a motor vehicle in a lawful
            parking space as a temporary place to live. The vehicle must be
            operational and must be moved at least every 24 hours. To fall
            within this definition, the parking space at issue cannot be adjacent
            to residences.
            (f) "Personal property" means any item that can reasonably be
            identified as belonging to an individual and
            that has apparent value or utility~
            (2) It is found and declared that:



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                                -          .
             (a) From time to time persons establish campsites on sidewalks,
             public rights-of-way, under bridges, and so forth;
             (b) Such persons, by such actions create unsafe and unsanitary
             living conditions which pose a threat to the peace, health, and
             safety of themselves and the community;
             (c) During high and extreme fire conditions, the Greenways and
             Prescott Park pose a unique fire danger due to dry brush and
             abundant fuel sources;
             (d) Enforcing existing arson laws and burning prohibitions on an
             incident-by-incident basis alone on the Greenways and Prescott
             Park during high and extreme fire conditions does not provide
             sufficient prote.ction to public peace, health, and safety under such
             conditions, because of increased fire ignition potential and the
             rapid rate at which fire spreads under such circumstances;
             (e) It is difficult for emergency personnel to evacuate individuals
             camping on the Greenways or Prescott Park during a fire event;
             (f) Wildfires on the Greenways and Prescott Park pose a severe
             threat to persons and property, including residents and property
             owners near those areas and persons experiencing homelessness
             within those areas;
             (g) Camping, lying, or sleeping on a playground or sports field
            .fundamentally undermines the public's ability to use that public
             property for its intended purpose;
             (h) Camping, lying, or sleeping on or near railroad tracks, or in a
             manner that obstructs sidewalks prevents the public's ability to use
             that public property for its intended purpose and can in some
             situations result in imminent threats to life;
             (i) This section's regulations are meant strictly to regulate the use
             of publicly owned property, and are not intended to regulate
             activities on private property; and
             G) The enactment of this provision is necessary to protect the
            •peace, health, and safety of the City and its inhabitants.
             (3) No person shall place or utilize bedding materials upon any
             sidewalk, street, alley, lane, public right-of-way, park, greenway,
             or any other publicly owned property or under any bridge or
             viaduct for more than 24 hours consecutively in a particular
             location, unless otherwise specifically authorized by this code, or
             by declaration of the Mayor in emergency circumstances·, or by
           . executive order of the City Manager pursuant to such declaration,
             or by declaration of the City Manager in the case of a severe event.
             (4) (a) Except as set forth in subsection (4)(b) of this section, no
             person shall camp in or upon any sidewalk, street, alley, lane,
             public right-of-way, park, greenway, or any other publicly owned
             property or under any bridge or viaduct.




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            (b) The prohibition in subsection (4)(a) of this section does not
            apply to tent camping or vehicle camping in the following
            circumstances:
            (i) if otherwise specifically authorized by any provision of the
            Medford Municipal Code;
            (ii) By declaration of the Mayor in emergency circumstances, if so
            authorized by the declaration;
            (iii) By executive order of the City Manager pursuant to such
            declaration, if so authorized by the executive order;
            (iv) By declaration of the City Manager in the case of a severe
            event, if so authorized by the declaration; or
            (v) If the City publishes on its website a written policy authorizing
            tent camping or vehicle camping on specific publicly owned
            properties, then tent camping or vehicle camping on such
            properties is lawful and permissible consistent with the time, place,
            and manner constqtlnts contained within any such writtenand
           ,published City policy.
            (5) No person shall camp, lie, sleep, or use bedding materials in
            any of the following circumstances, unless otherwise specifically
            authorized by this code, by declaration of the Mayor in emergency
            circumstances, by executive order of the City Manager pursuant to
            such emergency declaration, or by executive order of the City
            Manager pursuant to such declaration, or by declaration of the City
            Manager in the case of a severe event:
            (a) On the Greenways or Prescott Park, during the period May 1st
            to September 30th in any calendar year, or at any other time if the
            Fire Chief or the Fire Chief's designee determines that a fire
            hazard exists;
            (b) On a playground or sports field during hours of closure.
            Notwithstanding Section 5.255, lying or sleeping in a City-owned·
            park during hours of closure is not prohibited so long as the
            individual is experiencing homelessness, is not on a playground or
            sports field, is not on a "school park" associated with a school, and
            is not violating any other subsection of this section;
            (c).On areas underneath roadways or bridges that are not open to
            the public;
            (d) On railroad tracks or within 15 feet of railroad tracks;
            (e) On publicly owned property not open to the public, including
            but not limited to the Public Works Service Center and park areas
            temporarily closed for construction, repairs, maintenance, cleaning
            and similar activities;
            (f) On streets, including planter strips, medians and parking spaces;
            (g) On sidewalks, ifby doing so, the person obstructs pedestrian
            traffic along the sidewalk or into private property and businesses
            adjacent to the sidewalk. For purposes of this provision, an
            individual obstructs pedestrian traffic if that individual, by


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             camping, lying, sleeping, or using bedding materials, reduces the
           • path of travel to less than 36 inches;
             (h) Within 20 feet of a privately owned parcel zoned for residential
             uses, or within 20 feet of a residential structure regardless of
                                    /

             zoning; or
             (i) Within the 1.O.O.F. Eastwood Cemetery, or any other cemetery,
             mortuary, memorial park, or similar property.
             (6) Except as provided in subsection (10) of this section, at least 72
             hours before removing homeless individuals from an established
             camping site, law enforcement officials shall post a written notice,
             in English and Spanish, at all entrances to the camping site to the
             extent that the entrances can reasonably be identified.
             (a) When·a 72-hour notice is posted, law enforcement officials
             shall inform local agencies that deliver social services to homeless
             individuals as to where the notice has been posted; Any local
             agency, providing service within the City limits of Medford,
             desiring to be on this notification list must provide its name,
             address, telephone number, and name of contact person to the
             Medford Police Department, in writing, requesting notification:
             (b) The local agencies may arrange for outreach workers to visit
             the camping site that is subject to the notice to assess the need for
             social service assistance in arranging shelter and other assistance.
           • (7) (a) All personal property at the camping site that remains
             unclaimed after removal shall be given to a law enforcement
             official, a local agency that delivers social services to homeless
             individuals, an outreach worker, a local agency official or a person
             authorized to issue a citation described in subsection (10) of this
             section, whether notice is required or not.
             (b) The unclaimed personal property must be stored in a facility
             located in the same community as the camping site from which it
             was removed. For purposes of this section, the City of Medford is
             considered a single community.
             (c) Items ·that have no apparent value or utility or are in an
             insanitary condition may be immediately discarded upon removal
             of the homeless individuals from the camping site.
             (d) Weapons, controlled substances other than prescription
             medication and items that appear to be either stolen or evidence of
             a crime shall be given to or retained by law enforcement officials.
             (8) The written notice required under subsection (6) of this section
             must state, at a minimum:
             (a) Where unclaimed personal property will be stored;
             (b) A phone number that individuals may call to fi1;1d out where the
             property will be stored; or
             (c) If a permanent storage location has not yet been determined, the
             address and phone number of an agency that will have the
             information when available.


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                (9) (a) The unclaimed personal property shall be stored in an
                orderly fashion, keeping items'that belong to an •
                individual together to the extent that ownership can reasonably be
                determined.                •                                         •
                (b) The property shall be stored for 30 days during which it shall
                be reasonably availabfo to any individual claiming ownership. Any
                personal property that remains unclaimed after 30 days may be
                disposed of or donated to a corporation described in Section
                501(c)(3) of the Internal Revenue Code as amended and in1
                effect on December 31, 2020.         •
                (10) (a) The 72-hour notice requirement under subsection (6) of
                this section does not apply:
                (i)'When there are grounds for law enforcement officials to believe
                that illegal activities other than camping are occurring at an
                established camping site; •
                (ii) In the event of an exceptional emergency at an established
                camping site, including, but not limited to, possible site
                contamination by hazardous materials, a public health emergency
                or other immediate danger to human life or safety; or
                (iii) When the campsite is located in the areas specified in        .
                subsection (S)(a) of this section, and the notice is placed during the
                time frame described in subsection (S)(a) of this section, or when
                in the discretion of the Fire Chief or the Fire Chief's designee, the
                Greenways or Prescott Park should be immediately closed for fire
                danger as described in subsection (S)(a) of this section or per
                Administrative Regulation 907.                        •
                (b) If a funeral .service is scheduled with less than 72 hours' notice
                at a cemetery at which there is a camping site, or a camping site is
                established at the cemetery less than 72 hours before the scheduled
                service, the written notice required under subsection (6) ofthis •
                section may be posted at least 24 hours before removing homeless
                individuals from the camping site.
                ( 11) A person authorized to issue a citation for unlawful camping
                may not issue the citation if the citation would be issued within
                200 feet of a notice required ·under subsection ( 6) of this section
                and withiri two hours before or after the notice was posted.
                (12) Violation of subsection (3) of this section constitutes a
                violation. Violation of subsection (4) of this section consisting of
                vehicle camping in a lawful parking space constitutes a violation.
                Every day in which such violations occur constitutes a separate
                violation. A violation of subsection (4) or (5) of this section
                constitutes a crime, except for vehicle camping in a lawful parking
                space.
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